AO 245C (Rev. 12/03) Am ended Judgm ent in a Crim inal Case                                                                 (N ote: Identify Changes w ith Asterisks (*))



                                          UNITED STATES DISTRICT COURT
                                                    EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA                                                                AMENDED JUDGMENT
                                                                                        IN A CRIMINAL CASE
                                 v.
                                                                                        Case Number: 04-CR-53
VINTON CONSTRUCTION COMPANY                                                             USM Number:

Date of Original Judgment:                                                              Nathan A. Fishbach
April 7, 2005                                                                           Defendant's Attorney
(or date of last Amended Judgment)
                                                                                        Richard Frohling
                                                                                        Assistant United States Attorney

Reason for Amendment:
9 Correction of Sentence on Rem and (18 U .S.C. 3742(f)(1) and (2))      9 M odification of Supervision Conditions (18 U .S.C. § 3563(c) or 3583(e))
9 Reduction of Sentence for Changed C ircum stances                      9 M odification of Im posed Term of Im prisonm ent for Extraordinary and
   (Fed.R.Crim .P.35(b)                                                    Com pelling Reasons (18 U .S.C. § 3582(c)(1))
9 Correction of Sentence by Sentencing Court                             9 M odification of Im posed Term of Im prisonm ent for Retroactive
  (Fed.R.Crim .P.35(c))                                                    Am endm ent(s) to the Sentencing Guidelines (18 U .S.C. § 3582(c)(2))
: Correction of Sentence for Clerical M istake                           9 D irect M otion to D istrict Court Pursuant to
 (Fed.R.Crim .P.36)                                                                 9 28 U .S.C. § 2255 or 9 18 U .S.C. § 3559(c)(7)

THE DEFENDANT pleaded guilty to count one of the indictment.

The defendant is adjudicated guilty of the following offense(s):
                                                                                                                Date Offense                        Count
           Title & Section                                 Nature of Offense                                     Concluded                         Number(s)

 15 U.S.C. § 1                              Engaging in a continuing agreement,                              January 13, 2004                             1
                                            understanding, and concert of action to
                                            submit non-competitive and “rigged” bids
                                            for construction projects in unreasonable
                                            restraint of interstate trade and commerce.


           The defendant organization is sentenced as provided in Pages 2 through 4 of this judgment.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and the United States attorney of any material change
in the defendant's economic circumstances.

Defendant Organization’s
Federal Employer I.D. 39-00940674
                                                                                                   Date of Imposition of Judgment
                                                                                                   April 1, 2005

Defendant Organization’s Principal Business Address:                                               s/W illiam C. Griesbach, U.S. District Judge
2705 N. Rapids Road                                                                                Signature of Judicial Officer
Manitowoc, W I 54221-1987

                                                                                                 06/30/05
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                                                                                                   Date
AO 245E (Rev 12/03) Judgment in a Criminal Case for Organizational Defendants
                   Sheet 2 - Probation
Defendant Organization: VINTON CONSTRUCTION COMPANY                                                                                   Page 2 of 4
Case Number: 04-CR-53

                                                                      PROBATION

The defendant organization is hereby sentenced to probation for a term of five (5) years at to count one of the indictment.


The defendant organization shall not commit another federal, state or local crime.



                  If this judgment imposes a fine or a restitution obligation, it is be a condition of probation that the defendant organization
          pay in accordance with the Schedule of Payments sheet of this judgment.

          The defendant organization must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page (if indicated below).



                                                     STANDARD CONDITIONS OF SUPERVISION



1)        within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to act
          as the organization's representative and to be the primary contact with the probation officer;

2)        the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;

3)        the defendant organization shall notify the probation officer ten days prior to any change in principal business or mailing address;

4)        the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;

5)        the defendant organization shall notify the probation officer within seventy-two hours of any criminal prosecution, major civil
          litigation, or administrative proceeding against the organization;

6)        the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this
          judgment and all criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against
          the defendant's successors or assignees; and

7)        the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.

                                                    ADDITIONAL CONDITIONS OF SUPERVISION

1.        The defendant shall provide financial information to the supervising probation office upon request.
2.        The defendant shall pay a fine in the amount of $150.000.00 and restitution in the amount of $1,300,000.00, plus $100,000.00
          joint and several with James and Michael Maples, at a rate set forth in the plea agreement ($550,000.00 at sentencing, $50,000.00
          at the first and the second anniversary of sentencing, $200,000.00 on the third anniversary of sentencing, and $300,000.00 at the
          fourth and $150,000.00 on the fifth anniversary of sentencing).
3.        In order to monitor whether the organization is following the program to prevent and detect violations of law, the organization
          shall submit to: (A) a reasonable number of regular or unannounced examinations of its books and records at appropriate business
          premises by the supervising probation officer or experts engaged by the Court; and (B) interrogation of knowledgeable individuals
          within the organization. Compensation to and costs of any experts engaged by the Court shall be paid by the organization.




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AO 245E (Rev 12/03) Judgment in a Criminal Case for Organizational Defendants
                   Sheet 3 – Criminal Monetary Penalties
Defendant Organization: VINTON CONSTRUCTION COMPANY                                                                                    Page 3 of 4
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                                                    CRIM INAL M ONETARY PENALTIES

          The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet
4.

                                                                                             Assessment                         Fine
                    Restitution
                    Totals:                                                     $            400.00                    $       150,000.00
                                                                                                                       $1,300,000.00




      9        The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will
               be entered after such determination.


      9        The defendant organization shall make restitution (including community restitution) to the following payees in the amount
               listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
      be paid before the United States is paid.


Name of Payee                                       Total Loss*                          Restitution Ordered                Priority or Percentage

W I DOT                                                                                  $1,300,000.00
Attn: Allyn Lepeska
P.O. Box 7910
Madison, W I 53707

          Totals:                               $                                    $    1,300,000.00


9     Restitution amount ordered pursuant to plea agreement $


9     If defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine is paid in full
      before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 4 may
      be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


9     The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:


      9 the interest requirement is waived for the                              9 fine                    9 restitution.
      9 the interest requirement for the                                        9 fine                    9 restitution is modified as follows:
*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for
offenses committed on or after September 13, 1994 but before April 23, 1996.




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AO 245E (Rev 12/03) Judgment in a Criminal Case for Organizational Defendants
         Sheet 4 - Schedule of Payments
Defendant Organization: VINTON CONSTRUCTION COMPANY                                                                                   Page 4 of 4
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                                                           SCHEDULE OF PAYM ENTS

Having assessed the organization’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A     9     Lump sum payment of $                                  due immediately, balance due


            9 not later than                                               , or

            9 in accordance with 9 C or 9 D below; or
B     9     Payment to begin immediately (may be combined with                    9 C or 9 D below); or
C     9     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                  (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or


D     :     Special instructions regarding the payment of criminal monetary penalties:
            SPECIAL ASSESSMENT: $400.00, due immediately.
            FINE AND RESTITUTION: April, 2005 - $550,000.00 - restitution
                                          April, 2006 - $50,000.00 - restitution
                                          April, 2007 - $50,000.00 - restitution
                                          April, 2008 - $200,000.00 - restitution
                                          April, 2009 - $300,000.00 - restitution
                                          April, 2010 - 150,000.00 - restitution, and $150,000.00 - fine


All criminal monetary penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



: Joint and Several
      $100,000.00 restitution is joint and several with co-defendants James and Michael Maples.


9 The defendant organization shall pay the cost of prosecution.
9 The defendant organization shall pay the following court cost(s):
9 The defendant organization shall forfeit the defendant organization's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




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